                                                              United States Bankruptcy Court
                                                                  District of New Mexico
In re:                                                                                                                 Case No. 21-11322-j
Joel Alan Gaffney                                                                                                      Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 1084-1                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Dec 02, 2021                                               Form ID: econsent                                                          Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 04, 2021:
Recip ID                  Recipient Name and Address
db                      + Joel Alan Gaffney, 4200 Montgomery Blvd NE Apt 208, Albuquerque, NM 87109-1154

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 04, 2021                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 2, 2021 at the address(es) listed
below:
Name                               Email Address
United States Trustee
                                   ustpregion20.aq.ecf@usdoj.gov

Yvette J. Gonzales
                                   yjgllc@yahoo.com yg@trustesolutions.net


TOTAL: 2




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                                   UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NEW MEXICO


In re: JOEL ALAN GAFFNEY ,                                                          Case No.:    21−11322−j7
                    Debtor.


                     PRO SE PARTY ELECTRONIC NOTICE AND SERVICE CONSENT FORM −
                                         BANKRUPTCY CASE


         I hereby consent to receive notices electronically (i.e., by email at the email address given below) and waive
my right to receive them by United States mail. I also consent to electronic service of any motions and other papers
that may be filed in this case, and waive personal service or service by United States mail. Finally, I consent to
electronic service and notice of any orders or judgments entered in this case, and waive service and notice by United
States mail.
        I understand that by signing this form I waive my right to receive documents filed or served in my bankruptcy
case by United States mail, and that the ONLY copies I receive will be electronic copies attached to email messages,
not paper copies.
_____________________________________                     _____________________________________
Signature of Debtor/Party                                 Email address
Name: ________________________________
Date: _________________________________
_____________________________________                     _____________________________________
Signature of Joint Debtor                                 Email address

Name: ________________________________

Date: _________________________________



NM LF 5005−2(b)−1




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